                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       Case No. 3:19cr130
                                            )       The Honorable M. Hannah Lauck
OKELLO T. CHATRIE,                          )
          Defendant                         )


                                    NOTICE OF APPEAL

       Okello Chatrie, through counsel, notes his appeal to the United States Court of Appeals for

the Fourth Circuit from the final order in this case entered on August 19, 2022 (ECF No. 239).

                                                    Respectfully Submitted,
                                                    OKELLO T. CHATRIE

                                                    By: _______/s/_______________
                                                           Counsel

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